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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                        MINUTES

 Judge: BRIAN R. MARTINOTTI                                          Date: 09/03/2019
 Court Reporters: Joanne Sekella                                     Civil No: 16-7721

 Title of the Case:

 ADAPT PHARMA OPERATIONS LIMITED
 v.
 TEVA PHARMACEUTICALS INC.
 et al,

 Appearances:

 Attorneys for Plaintiff(s):
 Jessamyn S. Berniker, David Krinsky, David M. Horniak, Charles H. Chevalier
  & Anthony H. Sheh

 Attorneys for Defendant(s):
 John C. Rozendaal, Michael Joffre & Liza Walsh

 Nature of Proceedings: (Bench Trial)

 Trial resumes before the Hon. Brian R. Martinotti
 Stipulations & Exhibits moved into evidence
 Soumyajit Majumdar, Ph.D., sworn on behalf of Plaintiff
 Joint application to seal courtroom, portion of transcript and exhibits. Court Ordered application
 granted.
 Videotaped testimony played of Sergey Shpichuk on behalf of the Plaintiff
 Courtroom Sealed at 2:54 pm
 Videotaped testimony of Sergey Shpichuk resumes
 Courtroom Unsealed at 2:56 pm
 Videotaped testimony of Sergey Shpichuk resumes
 Scheduling Conference held on the record
 Trial without jury adjourned until 09/05/19 @ 8:30 am


                                                      Lissette Rodriguez, Courtroom Deputy
                                                      to the Honorable Brian R. Martinotti. USDJ
 Time Commenced: 12:55 pm
 Time Concluded:  3:15 pm
